241 F.3d 1331 (11th Cir. 2001)
    BYRON MILLER,  ADER MILLER, Plaintiffs- Counter-Defendants, Appellants,v.HARCO NATIONAL INSURANCE COMPANY, Defendant, Counter-Claimant, Appellee,GALO MOYA, d.b.a. Shippers Services Express, SHIPPERS SERVICES EXPRESS, Defendants-Appellees.BYRON MILLER,  ADER MILLER, Plaintiffs- Counter-Defendants, Appellees,v.HARCO NATIONAL INSURANCE COMPANY, Defendant- Counter-Claimant,GALO MOYA, GALO MOYA, d.b.a. Shippers Services Express, SHIPPERS SERVICES EXPRESS, Defendants-Appellants.
    No. 00-15055No. 00-15444Non-Argument CalendarD. C. Docket No. 99-00417-CV-JEC-1
    UNITED STATES COURT OF APPEALSELEVENTH CIRCUIT
    Feb. 13, 2001Feb. 22, 2001
    
      Appeals from the United States District Court for the Northern District of Georgia
      Before BIRCH, BARKETT and WILSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      The present suit arises from an incident in Michigan where Byron Miller's  tractor-trailer was involved in a car accident with a truck allegedly owned by  Galo Moya and his company, Shippers Services Express, Inc. Byron and his wife,  Ader Miller, sought compensation in Michigan for their injuries. After the  Michigan court granted them a default judgment, they sought to have the order  enforced in Georgia against the defendants.
    
    
      2
      The district court granted summary judgment to the Millers and against Moya and  his company, enforced the Michigan order and held them liable for the accident.  Finding that Harco National Insurance Company ("Harco") had not insured Shippers  Services Express, Inc. but only Galo Moya d.b.a. Shippers Services Express, the  district court dismissed Harco from the suit and denied the Millers' motion for  summary judgment against them.
    
    
      3
      On this consolidated appeal Moya asks us to review whether the district court  erred in: 1) granting the Millers summary judgment, thus enforcing the default  judgment; 2) finding that the Michigan court had personal jurisdiction over him;  3) finding that no material dispute existed as to whether the Moya and his  company were alter egos of one another; and 4) finding that the Michigan  judgment was entitled to full faith and credit.
    
    
      4
      After thorough review of the briefs and record for this case as well as the  well-reasoned analysis of the district court, we affirm the court's decision to  grant the Millers summary judgment against Galo Mayo and Shippers Services  Express1 adopting substantially the reasons offered in the district court's  opinion dated August 30, 2000.
    
    
      5
      The Millers appeal the grant of summary judgment to Harco who won on its own  competing motion for summary judgment by stating that the company did not  provide coverage for the named insured in this case. The Millers counter that  the issue is not whether Harco would be liable under its policy for the Michigan  judgment, but whether Harco is liable for the judgment issued in the district  court against all the Moya defendants, including its named insured, Galo Moya  d.b.a. Shippers Express Services. This question requires some analysis by this  Court. Yet, it has become evident that any theory by which we would proceed to  answer this issue involves questions of state law for which there is no clear  controlling legal precedent. As a result, we certify the questions noted at the  end of this discussion to the Georgia Supreme Court under the authority granted  by O.C.G.A.  15-2-9 (2000).
    
    
      6
      CERTIFICATE FROM THE UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT TO  THE SUPREME COURT OF GEORGIA, PURSUANT TO O.C.G.A.  15-2-9.
    
    DISCUSSION
    
      7
      Harco provides insurance for Mayo who took out a policy in the name of Galo Mayo  d.b.a. Shippers Services Express. It has previously been established that motor  carrier companies with vehicles registered in Georgia2 must maintain, as a  matter of law, a certain level of insurance to protect the public from potential  injury. See O.C.G.A.  46-7-1 through 46- 7-15; Ross v. Stephens, 496 S.E.2d  705, 707 (Ga. 1998). Consistent with such state obligations, 49 C.F.R.  387.1-  387.15 requires insurers of motor carrier companies to attach a federal MCS-90  form to its policies demonstrating an intent to provide coverage for potential  torts committed against members of the public. See Century Indem. Co. v.  Carlson, 133 F.3d 591, 594 (8th Cir. 1998) ("The MCS-90 provides a broad  guaranty that the insurer will pay certain judgments incurred by the insured  regardless of whether the motor vehicle involved is specifically described in  the policy or whether the loss was otherwise excluded by the terms of the  policy").
    
    
      8
      Georgia courts have also held that an insurer is subject to the insurance  provisions concerning third-party victims regardless of whether the insured  timely notified the insurer, see Progressive Cas. Ins. Co. v. Bryant, 421 S.E.2d  329, 331 (Ga. App. 1992); Seawheels, Inc. v. Bankers &amp; Shippers Ins. Co. of New  York, 333 S.E.2d 650, 653-54 (Ga. App. 1985), or whether the particular truck in  question is listed on the insured's policy. See Ross, 496 S.E.2d at 707. The  terms of Harco's policy also support this interpretation.3
    
    
      9
      Without strong arguments against any of these cases, Harco has advanced the  argument that the suit in Michigan was against Shippers Services Express and not  Galo Mayo d.b.a. Shippers Services Express, who is the covered party by the  policy, and thus there was no judgment against "the insured" in this case. To  support this argument, Harco relies on Shelby Insurance Company v. Ford which held that a child could not recover from the insurance company for injuries  sustained at a day care center where the owner and not the center itself was the  insured. 454 S.E.2d 464, 465-66 (Ga. 1995) ("It was with [the owner], as an  individual, that appellant contracted to provide insurance coverage, and that  contract cannot be enlarged by the court to include as a named insured a wholly  distinct legal entity").
    
    
      10
      While we understand the district court's reluctance to "enlarge" the scope of  coverage for the insurance contract, we are not adequately convinced that the  public policy encompassed in legislation regarding motor carrier coverage (which  allows for broad construction of motor carrier insurance coverage) and the  narrow facts of this case do not dictate another conclusion. See American  Southern Inc. Co. v. Golden, 373 S.E.2d 652, 653 (Ga. App. 1988) ("Contracts of  insurance are to be construed strictly against the insurer and in favor of the  insured when language contained therein is susceptible to two or more  constructions. Where the insurer grants coverage to an insured, it must define  any exclusions in its policy clearly and distinctly"). As a result, we certify  the following questions to the Georgia Supreme Court:4
    
    
      11
      1 Whether Georgia law recognizes a distinction between a suit against an  individual doing business as a corporate entity and a suit against just the  aforementioned legal entity? The question becomes whether insurance coverage  given to final judgments against a named individual doing business as a  corporate entity also provides such coverage when the final judgment is rendered  solely against the corporate entity in suits under the motor common carrier  provisions?
    
    
      12
      2 When the insured party is found liable based on a theory of piercing the  corporate veil, is the insurer then liable for the same, even if no independent  coverage exists under the insurance policy?
    
    
      13
      3 Does the mere fact that a court held the insured liable for an act covered by  his policy create liability for the insurer?
    
    
      14
      The particular phrasing used in the certified questions should not restrict the  Supreme Court's consideration of the issues in its analysis of the record  certified in this case. This latitude extends to the Supreme Court's restatement  of the issue or issues and the manner in which the answers are given.
    
    
      15
      The clerk of this court is directed to transmit this certificate, as well as the  briefs and record filed with the court, to the Supreme Court of Georgia, and  simultaneously to transmit copies of the certificate to the attorneys for the  parties.
    
    
      16
      AFFIRMED IN PART, QUESTION CERTIFIED TO SUPREME COURT OF GEORGIA GRANTED IN  PART.
    
    
      
        NOTES:
      
      
        1
         For the reasons noted in the district court's opinion, Shippers Services  Express, Inc. and Shippers Services Express may be used interchangeably  throughout this opinion.
      
      
        2
         It has previously been determined by the district court and we acknowledge our  concurrence here that Shippers Services Express meets the statutory definition  of a motor common carrier company. See O.C.G.A. 46-1-1 (9)(B).
      
      
        3
         The endorsement on Harco's policy states in pertinent part:
        [T]he insurer agrees to pay . . . any final judgment recovered against the  insured for public liability . . . regardless of whether or not each motor  vehicle is specifically described in the policy and whether or not such  negligence occurs on any route or in any territory authorized to be served by  the insured or elsewhere. (Tab 49).
      
      
        4
         When doubts exists as to the application of state law, "a federal court should  certify the question to the state supreme court to avoid making unnecessary  state law guesses and to offer the state court the opportunity to interpret or  change existing law." Pogue v. Oglethorpe Power Corp., 82 F.3d 1012, 1017 (11th  Cir. 1996).
      
    
    